     Case:17-16783-CDP Doc#:60 Filed:11/14/18             Entered:11/20/18 14:00:09 Page1 of 1
            UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                        Minutes of Proceeding

 November 19, 2018                                              Honorable Cathleen D. Parker, Presiding
                                                                                Teleconference hearing
 In re:
                                                                                 Case No. 1716783 CDP
 Lawrence Vernon Drake and Teresa Linda Drake
                                                                                               Chapter 7

    Debtors

 Appearances:

 Debtor       Lawrence Vernon Drake and Teresa        Counsel     Karen Kealy-Oldham
              Linda Drake
 Creditor                                             Counsel
 Creditor                                             Counsel

Proceedings: Hearing on Debtor's Motion to Modify Schedule F (ECF No. 44) and Response filed by
Donald Wheat


Orders:

       This matter came before the court on November 14, 2018. The court having reviewed the
pleadings, finds as stated on the record, grants the Motion, advising the parties that the ruling does not
alter Wheat’s position in the adversary proceeding. The court is not entering a ruling on the issue of
Wheat’s claim.
       IT IS ORDERED the Debtor’s Motion to Modify Schedule “F” is GRANTED.




                                                  BY THE COURT



                                                  ___________________________
                                                  Honorable Cathleen D. Parker 11/19/2018
                                                  United States Bankruptcy Court
                                                  District of Colorado
